Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 1 of 31 PageID# 516


            United States District Court                  District Eastem District Of Virginia
  Name (under which you were convicted) : g, LewiS                           Docket or Case No.: 2 114-CR-00088-002
  Place of Confinement: FMCC                                                 Prisoner No.: 51133-083
            UNITED STATES OF AMERICA                              Hovant    (include name under which
                                                                                               convicted)




                              Sheila Clark Lewis



                                                                    MOTION




  1.      (a) Name and location of court that entered the judgment of conviction you are challenging:
              Eastern Di.git-rir.h of Virginia


             (b) Criminal docket or case number (ii you know): 2; lA-CR-QOOfifl-on?



  2.      (a) Date of the judgment of conviction (if you know): Unknown
             (b) Date of sentencing:            1 7/S /9f>i a




  3.      Length of sentence:             ?U Mnnfhg




  4.     Nature of crime (all counts): 18 USC §1028 (a) (1)




  5.     (a) What was your plea? (Check one)



  (1) Not guilty                  (2) GuiltyX                 (3) Nolo contendere (no contest)
   (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or

  410cr                                                             1


  © 2016 Matthew Bender &Company, Inc., a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 2 of 31 PageID# 517


   indictment, what did you plead guilty to and what did you plead not guilty to? Guilty as such to
   indicated




   6.     If you wentto trial, what kind of trial did you have? (Check one) Jury                     Judge only

                     Not Applicable

   7.     Did you testify at a pretrial hearing, trial, or post-trial hearing?           Yes      No X



   8.     Did you appeal from the judgment of conviction?                Yes      No X



  9.      If you did appeal, answer the following:
             (a) Name ofcourt:                       N/A
             (b) Docket or case number (if you know):                  N/A
             (c) Result:        N?A
             (d) Date of result (ifyou know):                          N/A
             (e) Citation to the case (if you know):                   N/A
             (f) Grounds raised: N/A




             (g) Did you file a petition for certiorari in the United StatesSupreme Court? Yes No X


  If "Yes." answer tiie foikiwing:



  (1) Docket or case number (if you know).                    N/A


  (2) Result:           N/A



  4I0cr                                                            2


  ©2016 Matlhew Bender & Company, Inc., a member of the LexisNexis Group. Allrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 3 of 31 PageID# 518




  (3) Date of result (if you know):             N/A



  (4) Citation to tlie case (if you know):            N/A


  (5) Grounds raised:                N/A




  10.     Other than the direct appeals listed above, have you previously med any ottrer mnUoas, pfititiuiis,
           or^ppKcations osxasrifig Shisjudgsienl cf ccnyicticr t" any co'jrt?



  Yes No X




  410cr


 © 2016 Matlhew Bender & Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
 restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 4 of 31 PageID# 519


   11.      Ifyour answer to Question 10 was "Yes," give the following information:
              (a)(1) Name ofcourt:           N/A


   (2) Docket or case number (if you know):                  m/a



   (3) Date of filing (if you know):



   (4) Nature ofthe proceeding:                        N/A


   (5) Grounds raised:             N/A




  (6) Did you receive a nearmg where evidence was-grven on yourmonon, petition, or appfication?



  Yes No X


  410cr                                                            4


  ©2016 Matthew Bender & Company, Inc.. a member of the LexisNexis Group. Allrights reserved. Use of this product Is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 5 of 31 PageID# 520




   (7) Result:       N/A


   (8) Date of result (if you know):           N/A
    (b) Ifyou filed any second motion, petition, or application, give the same information:


   (1) Name of court:          N/A


   (2) Docket or case number (if you know):                    N/A


   (3) Date offiling (if you know):                    N/A


   (4) Nature ofthe proceeding:                  N/A


   (5) Grounds raised:                        N/A




  410cr


  © 2016 MallhewBender & Company. Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 6 of 31 PageID# 521




   (6) Did you receive a hearing wiiere evidence was given on your motion, petition, or application?


   Yes No        X




   (7) Result:       N/A


   (8) Date of result (if you know);   N/A
    (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion,
   petition, or application?




   (1)   First petition:          Yes    No
   (2)   Second petition:         Yes    No


   (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you
  did not;
    Such action based upon these grounds just became available and
    the time restraints have just been "forgiven" since the def-
    endants convirtion became final.




  12.      For this motion, state every ground on which you claim that you are being held in violation of the
            Constitution, laws, or treaties of the United States. Attach additional pages if you have more than
                                : the facts siippo'^ng each ground.




  GROUND ONE:               Violation of Equal Protection Clause




  410cr


  © 2016 Matthew Bender &Company. Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 7 of 31 PageID# 522




   (a)Supporting facts (Do notargueor cite law. Just state tiie specific facts thatsupport your claim.):
      See Attached




  (b) Direct Appeal of Ground One:



  (1) If you appealed from the judgment of conviction, did you raise this issue?



  410cr                                                            7


  © 2016 Matlhew Bender &Company. Inc.. a member of the LexIsNods Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 8 of 31 PageID# 523




   Yes No       X



   (2) If you did not raise ttiis issue inyour direct appeal, explain why: No Direct Appeal Filed




   (c) Post-Conviction Proceedings:



   (1) Did you raise this issue in any post-conviction motion, petition, or application?


  Yes No        X



  (2) If your answer to Question (c)(1) is "Yes," state:



  Type ofmotion or petition:              N/A


  Name and location of the court where the motion or petition was filed:




  Docket or case number (if you know):                  n/a


  Date of the court's decision:           N/A




  410cr


  © 2016 MatthewBender &Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 9 of 31 PageID# 524


   Result (attach a copy of the court's opinion or order, ifavailable):




  (3) Did you receive a hearing on your motion, petition, or application?


  Yes No X



  (4) Did you appeal from the denial of your motion, petition, or application?



  Yes No        X



  (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?

                  Not Applicable
  Yes No




  (6) If your answer to Question (c)(4) is "Yes," state:



  Name and location of the court where the appeal was filed: N/A




  Docket orcase number {if you know):                     N/A


  Date of the court's decision:              N/A


 410cr


 © 2016 Matthew Bender & Company, Inc., a member of the LexisNexis Group. Allrights reserved. Use of this product is subject to the
 restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 10 of 31 PageID# 525




   Result (attach a copy of the court's opinion or order, if available):




   (7) Ifyour answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise
   this issue: Such grounds and action for time relief just became av
    ailable after defendants conviction became final.




   GROUND TWO:            Defects of I.aw




   (a) Supporting faets-fDo not argue or citeiaw. Juslrstate the specific facts tnat support your claim.):
      Sep




  4I0cr                                                           10


  © 2016 Matthew Bender &Company. Inc.. a member of the LexisNexis Group. Altrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 11 of 31 PageID# 526




   (b) Direct Appeal of Ground Two:



  (1) If you appealed from the judgment of conviction, did you raise this issue?



  Yes No X



  (2) If you did not raise this issue in your direct appeal, explain why: No Direct Apppal




  (c) Post-Conviction Proceedings:




  410cr                                                             n


  © 2016 Matthew Bender & Company, Inc., a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the tklatthew Bender Master Agreemenl.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 12 of 31 PageID# 527


    (1) Did you raise tliis issue in any post-conviction motion, petition, or application?


    Yes No       X


   (2) If your answer to Question (c)(1) is "Yes," state;



   Type of motion or petition:             N/A


   Nanfie and location of the court where the motion or petition wasfiled:                            N/A




   Docket or case number (if you know):                N/A



   Date of the court's decision:                N/A


   Result(attach a copyof the court's opinion or order, ifavailable):                        N/A




   (3) Did you receiver hearing nn your motion, peiiwon, or application?


   Yes No ^


   (4) Did you appeal from the denial of your motion, petition, or application?



  4I0cr                                                            12


  © 2016 Matthew Bender & Company, Inc., a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 13 of 31 PageID# 528




    Yes No       X



   (5) If your answerto Question (c)(4) is "Yes," did you raise tiiis issue in the appeal?
                   Not Applicable
   Yes No




   (6) If your answer to Question (c)(4) is "Yes," state;



   Name and location of the court where the appeal was filed:                      ^/A




   Docket or case number (if you know): N/A


   Date of the court's decision:                   N/A

                                                                                               N/A
   Result (attach a copy of the court's opinion or order, if available):




   (7) It your answer to Question (c)(4) or Question                     r> 1^," expiam wisy yw, «fC                      or raise
   this issue: Such grounds and "forgiveness" of time constraints for filing
    for such relief just became available after the defendants con
    viction became final.




   410cr                                                            13


   © 2016 Matthew Bender &Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
   restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 14 of 31 PageID# 529




  GROUND THREE:              Magnitude of gnsticp




  (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
   See




 410cr                                                            14


 © 2016 Mallhew Bender & Company, Inc.. a member of Ihe LexisNexisGroup. All rights reserved. Use of this product is subject to the
 restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 15 of 31 PageID# 530




   (b) Direct Appeal of Ground Three:



   (1) Ifyou appealed from the judgment of conviction, did you raise this issue?


   Yes No X


   (2) If you did not raise this issue in your direct appeal, explain why: No Direct Appeal Fi led




   (c) Post-Conviction Proceedings:



   (1) Did you raise this issue in any post-conviction motion, petition, or application?


               X




   (2) If your answer to Question icjO) is "Yes, state:



   Type of motion or petition:                   X



  4I0cr                                                            15


  © 2016 Matthew Bender &Company, Inc., a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 16 of 31 PageID# 531


   Name and location of the court where the motion or petition was filed:




   Docket or case number(if you l<now): N/A


   Date of the court's decision:                 N/A


   Result (attach a copy of the court's opinion or order, if available):                    N/A




   (3) Did you receive a hearing on your motion, petition, or application?



   Yes No       X



  (4) Did you appeal from the denial of your motion, petition, or application?



  Yes No        X



  (5) if your answer1o Question^c5(4) is "Yes," did you raise this issue in tne appeai"?

                    Not Applicable
  Yes No




  (6) If your answer to Question (c)(4) is "Yes," state:



  410cr                                                           16


  ©2016 Matthew Bender & Company, Inc., a member of the LexisNexis Group. Allrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 17 of 31 PageID# 532




   Name and location of the court where the appeal was filed:                       N/A




   Docket or case number (if you know);



   Date ofthe court's decisK«^A


   Result (attach a copy of the court's opinion or order, if available):




   (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise
  this issue: Such issues and relief of such and the time frame in which
  to file for such relief has just been amended.




  GROUND FOUR: Minor Role Participant


  410cr                                                            17


  © 2016 Matthew Bender & Company, Inc., a member of the LexisNexis Group. Allrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreenient.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 18 of 31 PageID# 533




   (a) Supporting facts (Do not argue or cite law. Just state the specificfacts that support your claim.):
    See Attached




   (b) Direct Appeal of Ground Four:



  (1) If you appealed from the judgment of conviction, did you raise this issue?



  410cr                                                           18


  © 2016 Matthew Bender &Company, Inc.. a member of the LcxisNexis Group. Allrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 19 of 31 PageID# 534




   Yes No        X



   (2) If you did not raise tills issue in your direct appeal, explain why: No Direct Appeal Filed




   (c) Post-Conviction Proceedings:



   (1) Did you raise this issue in any post-conviction motion, petition, or application?


   Yes No X



  (2) If your answer to Question (c)(1) is "Yes," state:



  Type of motion or petition:                 ^


  Name and location of the court where the motionor petition was filed:                         N/A




  Docket or case numoer (i! you Know;:



  Date of the court'sdecision;                    N/A



  410cr                                                            19


  © 2016 MatthewBender &Company, Inc., a member of the LexisNexis Group. All rights reserved. Use of tfiis product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 20 of 31 PageID# 535


   Result (attach a copy of the court's opinion or order, if available):                 N/A




   (3) Did you receive a hearing on your motion, petition, or application?


   Yes No      X




   (4) Did you appeal from the denial of your motion, petition, or application?


   Yes No          ^


   (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?

                       Not Applicable
  Yes No




  (6) If your answer to Question (c)(4) is "Yes," state:



  Name and location of the court where the appeal was filed:




  Docket or case number fif you know):                 N/A


  Date of the court's decis®ff:A


  410cr                                                           20


  ©2016 Matthew Bender & Company, Inc.. a member of the LexisNexis Group. Allrights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 21 of 31 PageID# 536




   Result (attach a copy of the court's opinion or order, if available):,                      N/A




   (7) If your answer to Question (cK4) or Question (c)(5) is "No," explain why you did notappeal or raise
   this issue: Such grounds for relief just became available and the
    normal time frame for filing for such ahs just been amended.




  13.      Is there any ground in this motion that you have not previously presented in some federal court? If
            so, which ground or grounds have not been presented, and state your reasons for not presenting
            them:      All of which is included herein.




  14.      Do you tiave any motion, petrtion, or appeal                             (fiSes: and aoi             yeti in any court
            for the judgment you are challenging? Yes No X
             If "Yes," state the name and location of the court, the docket or case number, the type of
            proceeding, and the issues raised.                    N/A

  410cr                                                            21


  © 2016 Matthew Bender &Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 22 of 31 PageID# 537




   15.      Give the name and address, if known, of eacli attorney who represented you in the following
             stages of the judgment you are challenging:
              (a) At preliminary hearing:         Harry Harmon

              (b) At arraignment and plea:

              (c) At trial:

              (d) At sentencing:

              (e) On appeal:

              (f) In any post-conviction proceeding:

              (g) On appeal from any ruling against you in a post-conviction proceeding:




  16.      Were you sentenced on more than one count of an indictment, or on more than one indictment, in
             the same court and at the same timel5ft'es No




  17.      Do you have any future sentence to serve after you complete the sentence for the judgment that
            you are challenging? Yes No X
             (a) If so, give name and location of court that imposed the other sentence you will serve in the


             (b)-Giva Lhe          tHp nthpr spntpnnp was imnn.s«d;
             (c) Give the lerjoth of the other sens^xs-
             (d) Have you filed, or do you plan to file, any motion, petroon, or application tnai chaflenges the
            jut^Tient or senlence to be served              t^enjture" Yes No


  18.      TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you


  410cr                                                            22


  © 2016 Matthew Bender & Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 23 of 31 PageID# 538


            must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
            bar your motion. *
              Such rer.pnt- pa.c;sing of law has made the grounds for filing for
             -such relief and -the normal time frame for such hasrecently been
             ..amended to            allow for           such.




   Therefore, movant asks that the Court grant the following relief: 1.               To have the Minor Role
    Participant applied to such in order to have the time in which the
    defendant is serving adjusted accordingly and to have the correct
    time calculated correctly and accorcdingly.




  410cr                                                           23


  © 2016Matthew Bender &Company. Inc.. a member ofthe LexisNexis Group. All rights reserved. Useofthis product is subjecttothe
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 24 of 31 PageID# 539


   or any other relief to which movant may be entitled.




                                                                                                  Signature of Attorney (if any)



              declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
                       and that this Motion [^eL2p U.S.C. §2255 was placed in the prison mailing system on
                                                 jf'J?ZjP ~j C>                        (month, date, year).

             Executed (signed) on_                                   . (date).




                                                                                                 /           Signature'of Movant

             Ifthe person signing is not movant. state relationship to movant and explain why movant is not
                       signing this motion.




  410cr


  © 2016 Matlhew Bender &Company, Inc.. a member of the LexisNexis Group. All rights reserved. Use of this product is subject to the
  restrictions and terms and conditions of the Matthew Bender Master Agreement.
  Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 25 of 31 PageID# 540




Ground One: Improper Factor of Consideration



               The District Court errors when it gives significant weight
to an irrelevant or improper factor. In such case and instance, the court
errored when it considered the defendant to be a major role player, leader,
or organizer when in fact the defendant was a Minor Role Participant. Such
error led to a two (2) to a level four (4) enhancement as a result of such
judgment and assumption of such role in the criminal act of conduct. U.S.
V Fraga, 704 F.3d. 432, 440 (5th Cir- 2013). Due to this unusual sent
encing practice, such requires and warrants closer scrutiny and a remand
for resentencing under only the proper factor.


Ground Two: Minor Role Participation- OSSG § 3B1.1



                The defendant meets the qualifying preset five (5) require
ments as set forth in qualifying for such consideration in reduction of
sentnece as demonstrated by the following:


                          1.   The degree to which the defendant understood
the scope and structure of the criminal activity versus her actual small
and minimal knowledge of such due to her small role in which she played
in such. Therefore, defendant was only aware of "her" conduct and not
aware of the entire scheme as an entirety.


                          2.   The degree to which the defendant participated
in the overall planning, or organizing of criminal activity, rather
than her individual part that she made the conscious decision to partake
in. The defendant did not plan, organize or contribute on a large scale
of offering tot he scheme or act of conduct, but rather on a small in
dispensable scale and level.


                          3.   The degree upon which the defendant exercised
decision- making authority or influenced the exercising of any form or
type of decision- making authority other than her own decision to committ
her individual acts upon which she accounts for and is soley responsibile
for   those acts and those acts alone.
 Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 26 of 31 PageID# 541



Page Two- Continued


                           4. The nature and extent of the defendant part
icipated in the commission of the criminal activity, including acts the
defendant performed and the responsibility and discretion the defendant
displayed in performing those acts.


                           5. The degree to which the defendant stood to
benefit from the criminal activity. With the exception of her own in
dividual involvement and the benefit she stood to benefit from          that mere
act and that act alone, was conclusive. The defendant didnt stand to
benefit from furtherance of such criminal act of conduct or schmeme of
things involved.


Ground     Three:   Substantial Guidelines




           Due to the crime involved of aggravated identity theft in this
case and assuch the defendant was sentencedto a        term that ran consecutive
to all other pending charges. According to Title 18 § 3564 (b) it is
steted and refers to the subsection as well as title section of such
criminal procedure law base on the grounds that the Judge has the dis
cretion to run multiple terms, state charges and such concurrent accord
ingly to all other sentences and given the overwhelming factor of con
sideration of the circumstances of the act of conduct in this case.           It
should be noted that the medical condition of the defendant be taken
into consideration as such is serious, deteriorating and very ex
pensive to the tax payers of the state (s) involved. Schrivoy 542 O.S,
a t 353.
Ground Four: Violation of Rights




        By the way of the bylaws that are given to a defendant under
the given section, the defendant in such action and by means of filing
of such action has demonstrated that her rights of the defendant have
been violated under the Equal Protection Clause, due to the fact that
it reflects disparate treatment in this case and of this defendant in
comparison to other defendant in similar cases and of the same na ture
 Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 27 of 31 PageID# 542



Page Three- Continued


and of the same circumstnaces. Due to this, defendants sentence lacked
any rational basis.


Ground Five: Issues of great Magnitude



         The defendant is such case intends to prove in such submission
of action that not only the sentencing of the defendant in such action
was not only unjustified but also lays out many issues of question that
given the subject of constitution and / or jurisdictional magnitude. D.S.
V Willis, 273 F.3d 592, 595 (5th Cir. 2001).

Ground Six: Miscarriage of Justice



        There are many cases in teh law which inherently results in a
total   miscarriage of justice and this is one of those cases. The def
endant in such matter will demonstrate many defects of not only tbe
procedural matters and questions of law but also the matters of which
went unaddressed and undisputed. Tbe motion in presentation will redress
and lay out matters of the fundamental defects that were.present in
such case through the prosecution of the defendant. U.S. v Addonizio, 442
UvSvnl78vvi85 (1979).

Ground Seven: In the monumental case of Gall v U.S. , supra 552 U.S. at
41, 128 S.Ct. at 591, the court of appeals MUST        review ALL sentences
of defendants whether inside, just outside or significantly outside the
guideline range under a deferential abuse-of-discretion standard.          Due
to the running of sentence (s) consecutive in these matter, the def
endant in such manner was denied several rights accordingly.


Ground Eight: Correction of Substantial Reason



        Part of the duties of the Circuit Court exist to correct mis
takes of again subjective reasoning when they occur. An application of
  Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 28 of 31 PageID# 543




Page Four: Continued


review of sentencing and reasoning is proper regardless whether again
the sentence is inside or below the minimum standards given by the
advisory guidelines according to the crime and defendants criminal
history. U.S. v Cisneros f Gutierrez, 517 F.3d 751, 764 (5th Clr. 2008).
The District Court abuses its discretion to impose the sentence when
it gives the defendant an unreasonable sentence (consecutive) relying
in part on teh courts disagrement with the guidelines, the enhancement
of the act in question without detailed actions of the defendant and the
actual act (s) that can be proven in a court and through such given motion
of present. Rita v. U.S. , 551 U.S.338, 354 (2007).

Ground Nine:    6th Amendment Violation




          The amount of jail time that the defendant received has 6th amend
ment significance and should be given consideration of such and allow
for the presentation of the basis and grounds for such evidence to be
presented. Glover v.       U.S., 531 U.S. .198, 203 (2001).

Ground Ten:    8th Amendment Violation




          8th Amendment rules are procedural even though the ultimate
source is substantive. Beard v. Banks, 542 U.S. 406, 408, 416, 417
(2004).


Ground Eleven:   DeNOVO Review




          U.S. V Conner, 537 F.3d 480, 489 (5th Cir. 2008). The circum
stances, the presenting evidence and missing elements included in           the
case, which are essential for conviction were NOT present as required.
Reasonableness standard of review applies to All cases imposed after
Booker under newly discretionary sentence (s) based upon in part or
in whole of erroneous facts of law and /       or conduct. Such action of
the government and the court fails to adequately explain chosen
sentence. Quoted accordingly by means of the case in reference.
 Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 29 of 31 PageID# 544



Page Five- Continued


"we (court of reference and / or appeals review tbeDistrict Courts
interpretation or application of the guidelines DeNOVO Review and
its factual finding or lack thereof for clear error".

Ground Twelve: Hearing Warranted



         A hearing MOST be warranted if the motion set forth sets forth
specific facts supported by competent evidence raising detailed and
controverted issues of fact that if proved at a hearing would entitle
the defendant to relief. U.S. v Aiello, 814 F.2d 109, 113-14 (2d Cir.
1987).


Ground Thirteen : Ruling Warranted



         Another monumental case of matter and given of defendants
filing of motion (s) is the consideration and demand for a ruling
under Gonzalez v Supra, 722 F.3d 118j 130 (2d Cir. 2013),- quoting
28 U.S.C. sub 2255 "In ruling on a motion under sub 2255, the
District Court is required to hold a hearing unless the motion,
and the files and the records of the defendant prosecutorial process
of the reiEerred to case conclusively and not subjectively show that the
prisoner is entitled to no relief"

Ground Fourteen   Variance of Circumstances




         USSG § 5H1.4 provides the court with the discretion depart
ure of the advisory guideline which guides such sentence due to med
ical circumstances or other compelling matters involving the def
endants sentence, actual acts in question and the circumstances of
the scheme of things involved including but not limited to the laws,
protection of fundamental rights under the United States Constitution
and all other preceeding and present matters of law.
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 30 of 31 PageID# 545




Page Six- Continued

          Inuconclusion, the defendant of the court mercifully prays that
the court will approve the Certificate of Relief in order for the def
endant to present evidence or lack thereof that the government as well
as the court failed to consider throught the judicial process and th
rough the prosecution of the defendant. As a result of this,the def
endant was denied fundamental rights that can and will be substantiated
through such motion.


          Thank - You very much for your time and consideration in dealing
with and considering the issue of such in order for the government as
well as   the defendant   to be heard in this matter.




Respectfully Submitted,
Case 2:14-cr-00088-RGD-TEM Document 103 Filed 09/08/16 Page 31 of 31 PageID# 546


                            CERTIFICATE OF SERVICES

          This is to certify that I have served a true and correct copy of the following;

   upon the following addresses, by placing same in a sealed envelope, bearing sufficient postage

   for the delivery via United States mail Service to: fh/ia

   which was hand delivered to prison authorities on the grounds of tlie Federal Medical Center,

   Carswell in Fort Worth, Texas on this               day of                     ,                 .
                                                                    /




   Litigation is deemed FILED at the time it was delivered to prison authorities. See: Houston v.
   Lac!^ lOi L.Ed. 2d 245(1988).
